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 7

 8                            UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10                                       (Western Division)
11
      JOHN DOE,                                      Case No.
12
                    Plaintiff,                       COMPLAINT FOR EQUITABLE
13                                                   RELIEF; JURY TRIAL DEMAND
                        v.
14
      THE UNITED STATES OF
15    AMERICA,
16                  Defendant.
17

18

19           Plaintiff John Doe, for its Complaint against Defendant United States of
20   America (“the government”), complains and alleges as follows:
21                               JURISDICTION AND VENUE
22           1.    This court has subject matter jurisdiction over this action under 28
23   U.S.C. §1331.
24           2.    Venue is situated with this Court because a substantial portion of the
25   acts complained of herein occurred in the Los Angeles County, the State of
26   California, in this judicial district.
27   ///
28   ///

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 1                                          PARTIES
 2           3.    Plaintiff John Doe (“Plaintiff”) is an adult male residing in the Republic
 3   of Korea (“Korea”). Plaintiff, a citizen of Korea, seeks to proceed anonymously,
 4   due to the highly sensitive and personal nature of the details about Plaintiff in this
 5   action and the severe harm which will be inflicted on Plaintiff and his family should
 6   the details become public.
 7           4.    Plaintiff is married with children, and owns and manages large business
 8   operations in Korea, the United States and Canada.
 9           5.    The defendant in this action is the United States of America (the
10   “government”).
11                                 GENERAL ALLEGATIONS
12   I.      INTRODUCTION
13           6.    Jane Doe (“Doe”) 1 manipulated Plaintiff to think that she was
14   Plaintiff’s girlfriend. She then talked Plaintiff into giving a large sum of money,
15   approximately $26,000. She also falsely reported to the government that Plaintiff
16   trafficked her from Korea into the U.S. for sex so that she could obtain a visa to stay
17   in the U.S.
18           7.    The government investigated Plaintiff for human trafficking based on

19   the false accusation by Doe even after the agent (the “Agent”) investigating

20
     Plaintiff learned the falsity of the accusation.
             8.    Purportedly in love with Doe, the Agent falsely declared that Doe was a
21
     victim of human trafficking and obtained a vise for Doe.
22
             9.    The Agent also extorted Plaintiff, using the investigation as the
23
     leverage against Plaintiff.
24
             10.   The government enlisted Plaintiff’s assistance in investigating and
25
     prosecution the Agent for the extortion, with the promise that it would help Plaintiff
26

27
     1
      Plaintiff refers to Jane Doe by the pseudonym to protect the privacy of her,
28   Plaintiff and his family.

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 1   with the travel restrictions placed on Plaintiff by the U.S. immigration authority
 2   because of the human trafficking investigation.
 3           11.   Plaintiff provided the assistance as requested by the government, and
 4   the Agent was successfully prosecuted.
 5           12.   In direct contravention of its promise, the government is now absurdly
 6   refusing to allow Plaintiff to travel to the United States (the “U.S.”) on the ground

 7   that he was accused of human trafficking.

 8
             13.   The government’s conduct toward Plaintiff is particularly troublesome
     because it is well aware that Plaintiff has and will continue to incur severe financial
 9
     damages because he cannot operate his business in the U.S.
10
             14.   Plaintiff is mindfully that it is the U.S. embassy in Korea who denied
11
     and continues to deny his visa application, not the agencies who fraudulently
12
     investigated Plaintiff, enlisted the assistance of Plaintiff for the prosecution of the
13
     Agent, and promised to help with the travel restriction.
14
             15.   Plaintiff is also mindful that the embassy is not aware of the details of
15
     the investigation and the subsequent events, and is acting solely on the bare minimal
16   and therefore completely misleading records of the same available to it.
17           16.   However, the government cannot abrogate its obligation to act within
18   the confines of the law – the obligation to not act capriciously by relying on an
19   accusation it knows to be false - and must not compound its wrongful conduct by
20   continuing to victimize Plaintiff.
21   II.     BASIC FACTS
22           17.   Plaintiff became infatuated with Doe when Plaintiff met her at an
23   upscale drinking establishment in Seoul Korea. Sometime after their initial
24   meeting, Plaintiff believed himself to be in a romantic relationship with Doe and
25   traveled with her to Hawaii from Korean for a vacation, with Plaintiff defraying her
26   travel expenses and providing her with some shopping money.
27           18.   Plaintiff was not aware, and Doe did not disclose, that she was already
28   in a relationship with a famous celebrity sports figure in Korea.

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 1           19.   Shortly after the Hawaii vacation, capitalizing on Plaintiff’s infatuation
 2   with her, Doe asked Plaintiff to pay off her debt in the approximate amount of
 3   $26,000, and show her the rest of the U.S.
 4           20.   Plaintiff gave Doe the money she asked for, and she traveled to the Los
 5   Angeles International Airport (the “LAX”) for the avowed purpose of experiencing
 6   the U.S. and perhaps attending school. Besotted with Doe, Plaintiff did not even
 7   think to verify the existence of the debt or whether or not she paid off the purported
 8   debt.
 9           21.   Upon her arrival at the LAX, Doe falsely claimed to the United Stated
10   Immigration and Customs Enforcement (“ICE”) that Plaintiff purchased her and
11   trafficked her into the U.S. for sex.
12           22.   Based on her false claim, ICE began a human trafficking investigation
13   into Plaintiff, but the Agent in charge of the investigation discovered that Doe lied
14   to the government about being trafficked.
15           23.   However, the Agent fell in love with Doe, and falsely declared, under
16   penalty of perjury, to a court that Doe was a human trafficking victim. The Agent
17   wanted Doe to get a human trafficking victim visa so that she could stay in the U.S.
18   with him.
19           24.   The Agent also extorted Plaintiff. The Agent purported that he wanted
20   to financially provide for Doe and, pretending that the investigation was still
21   pending, requested that Plaintiff pay him money if Plaintiff wanted his name
22   cleared.
23           25.   When he extorted Plaintiff, the Agent knew that Plaintiff was innocent
24   and that Plaintiff desperately needed to be able to visit the U.S. to manage his
25   business operation in the U.S. As an official target of the human trafficking
26   investigation, which was prolonged for illegal purposes by the Agent, Plaintiff was
27   refused entry by the government.
28   ///

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 1           26.   As the direct result of the Agent’s extortion, Plaintiff was forced to pay
 2   the Agent an amount between $9,000 and $11,000.
 3           27.   When the government began investigating the Agent for his illegal
 4   conduct, Plaintiff and his family provided material assistance to the government by,
 5   among other things, recording incriminating conversations with the Agent.
 6           28.   The assistance by Plaintiff and his family led to the felony conviction
 7   of the Agent, and during the course of his prosecution, the Agent admitted that he
 8   knew Doe was not a victim of human trafficking. He also admitted that he
 9   pretended that the investigation against Plaintiff was still open and extorted Plaintiff
10   because he fell in love with Doe and wanted to financially provide for her.
11           29.   In assisting the government, Plaintiff was led to believe that the
12   government would correct its official records to show that Plaintiff was in no way
13   involved in human trafficking or prostitution, and would desist from denying him
14   entry to the U.S.
15           30.   However, to date, the government has failed to make such corrections
16   and continues to deny Plaintiff entry into the U.S.
17           31.   Consequently, Plaintiff was forced to abandon his plan to expand the
18   operation in the U.S. and was forced to divert the investment funds to Canada where
19   he now has another manufacturing operation. The diversion of the funds imposed
20   severe financial damages to Plaintiff’s business, and Plaintiff continues to suffer
21   financial losses from lacking an expanded manufacturing operation in the U.S.
22   where most of his customers are located.
23           32.   The Agent and the government’s conduct in this matter, including the
24   institution and continuation of the investigation of Plaintiff based on the patently
25   false report by Doe, the extortion of Plaintiff, the rejections of Plaintiff’s visa
26   applications, and the exclusion of Plaintiff from the U.S., are now threatening
27   Plaintiff’s ability to conduct business in Canada.
28   ///

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 1           33.   On information and belief, the U.S. government and Canadian
 2   government will be soon exchanging their criminal investigation records for the
 3   travelers to each country, and as soon as the exchange takes place, Plaintiff will be
 4   also banned from Canada, inflicting devastating injury to his business operation in
 5   Canada and the U.S.
 6           34.   Doe defrauded Plaintiff of $26,000, falsely reported Plaintiff as a
 7   human trafficker, led yet another man, the Agent, to be infatuated with her, and
 8   caused the Agent to file a false declaration with a court so that she could stay in the
 9   U.S.
10           35.   The government benefitted from the assistance from Plaintiff and his
11   family in prosecuting the Agent.
12           36.   On the other hand, Plaintiff stands accused of human trafficking,
13   without being charged or cleared of the false allegation; excluded from the U.S.; and
14   threatened with exclusion from Canada, suffering severe emotional and financial
15   injuries.
16           37.   In this action, Plaintiff seeks expungement of all records relating to the
17   investigation of Plaintiff and a judicial declaration that Plaintiff did not commit any
18   human trafficking or prostitution, and that the investigation of Plaintiff was initiated
19   based on fraudulent information and was later used for the Agent’s illegal extortion
20   purposes.
21           38.   This Court has the inherent power to remedy the egregious injuries
22   inflicted on Plaintiff by Doe and the Agent (and by extension, the government).
23   III.    DOE WORKED AT A “TEN PRO” ESTABLISHMENT IN THE
24           WEALTHIEST NEIGBORHOOD IN SEOUL, KOREA.
25           39.   In or about October 2011, Plaintiff met Doe at a “Ten Pro”
26   establishment (the “Establishment”) located in the Gang Nam district of Seoul,
27   Korea, one of the wealthiest areas of Seoul.
28   ///

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 1            40.     At that time, Doe was working as a “doumi”, and her job duty was to
 2   help the clients of the Establishment relax and enjoy themselves by acting as their
 3   conversation and drinking partner. The term “doumi” literally means helper.
 4            41.     The term “Ten Pro” means top ten percent, and Ten Pro establishments
 5   are reputed to be top ten percent in various aspects of the business, including their
 6   ambience, alcoholic beverages, foods and doumis.
 7            42.     As such, Ten Pro establishments cater to wealthy clients and strictly
 8   maintain an aura of class and sophistication. Ten Pro establishments do not provide
 9   sexual service to their clients.2
10   IV.      AS A DOUMI AT A TEN PRO ESTABLISHMENT, DOE HAD LARGE
11            INCOME
12            43.     Top Ten establishments compete fiercely for talented doumis, going as
13   far as to offer interest free loans for signing with them.3
14            44.     Top Ten establishments also compensate their employs extremely well.
15   A typical Ten Pro doumi makes about $10,000 per month, and some earn more than
16   $35,000 per month456.
17            45.     Ten Pro doumis do not engage in, or offer to engage in, physical
18   relationship with the clients, for monetary compensation, and they certainly are not
19   sold or purchased.
20            46.     Based on the extensive review of the chatrooms7 or website for Ten Pro
21   doumis, human trafficking or physical violence is not one of their concerns.
22

23

24   2
         http://www.iminju.net/news/articleView.html?idxno=1109
     3
25       http://www.iminju.net/news/articleView.html?idxno=1109
     4
26       http://www.ilyoseoul.co.kr/news/articleView.html?idxno=136247
     5
         http://www.iminju.net/news/articleView.html?idxno=1109
27   6
         http://www.ilyosisa.co.kr/news/articleView.html?idxno=21249
28   7
         https://cafe.naver.com/asundl

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 1            47.    The doumis are concerned with maintaining their expensive life style.
 2   In order to keep their valuable status, they spend inordinate amounts of money and
 3   time upkeeping and upgrading their appearance and the trappings of the glamorous
 4   life. For instance, if they don’t already own a foreign luxury vehicle, the doumis use
 5   stand-by limousine service.8
 6   V.       DOE INDUCED PLAINTIFF INTO BELIEVING THAT THEY WERE
 7            IN A ROMANTIC RELATIONSHIP AND DEFRAUDED $26,000
 8            FROM PLAINTIFF
 9            48.    Some doumis actively seek and cultivate wealthy boyfriends or
10   gentleman friends who can free them from having to work to maintain the expensive
11   life style.
12            49.    The doumi-boyfriend/gentleman friend relationship (the
13   “Relationship”) is not commercial in nature, as in the case of prostitution. While the
14   boyfriend or gentleman friend provides the doumi with expensive gifts and financial
15   assistance, he is motivated largely, if not exclusively, by emotional ties to the doumi
16   and the psychological gratification from the relationship.
17            50.    Between October 2011 and February 2012, Plaintiff visited Doe at the
18   Establishment several times. Further, during the same time period, Plaintiff and
19   Doe also went out on lunch and dinner dates on several other occasions.
20            51.    Plaintiff found Doe very attractive from the first meeting and soon
21   developed strong feelings for her, which Plaintiff believed Doe encouraged and
22   reciprocated.
23            52.    In February 2012, Plaintiff and Doe traveled to Hawaii from Seoul,
24   Korea.
25            53.    Plaintiff provided Doe with approximately $3,000 for shopping in
26   Hawaii.
27

28   8
         http://www.iminju.net/news/articleView.html?idxno=1109

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 1           54.   Plaintiff believed that the Hawaii vacation cemented their relationship,
 2   and Doe also appeared very happy. At the conclusion of the vacation, Doe traveled
 3   back to Korea, and Plaintiff traveled to the U.S. where he had a sizable
 4   manufacturing and wholesale operation.
 5           55.   About one or two weeks after the vacation, Doe expressed to Plaintiff
 6   that she would like to see the rest of the U.S., intimating that she might take some
 7   classes in the U.S., and that she really wanted to see him.
 8           56.   She also asked Plaintiff to help her repay a debt in the approximate
 9   amount of $26,000.
10           57.   Plaintiff did not find anything amiss with Doe’s request, thinking that it
11   was only natural for a girlfriend to ask her boyfriend for help. Accordingly, Plaintiff
12   did not ask her about the details of the loan or try to verify the existence or the
13   amount of the loan. Instead, Plaintiff simply gave Doe the money.
14           58.   To this date, Plaintiff does not know if Doe owed the debt or if she
15   used the money from Plaintiff to pay off the debt.
16           59.   More disturbingly, during the entire duration of their relationship, Doe
17   deliberately hid from Plaintiff that she was already in a romantic relationship with a
18   Korean sports celebrity.
19   VI.     DOE KNEW SHE COULD OBTAIN A VISA TO STAY IN THE U.S.
20           BY REPORTING THAT SHE WAS A VICTIM OF HUMAN
21           TRAFFICKING9
22           60.   Under its Immigration Act Article 25-2(1) and 25-3(1), Korea allows
23   the foreign victims of sexual crimes, including human trafficking, to extend the
24   period of stay in Korea until the proceeding to remedy the infringement of the
25   victim’s right are completed. Koreans are generally aware that foreigners can
26

27
     9
      https://www.dhs.gov/sites/default/files/publications/PM_15-
28   4344%20U%20and%20T%20Visa%20Law%20Enforcement%20Resource%20Guide%2011.pdf

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  1   lengthen their stay in Korea if they are a victim of human trafficking and they report
  2   the crime.
  3            61.     Similarly, the U.S. grants U or T visas to the victims of human
  4   trafficking, which can lead to U.S. permanent residency and citizenship.
  5            62.     The U visa is reserved for victims of certain crimes, including human
  6   trafficking, who have suffered mental or physical abuse and are helpful to law
  7   enforcement or government officials in the investigation or prosecution of criminal
  8   activity10.
  9            63.     The U visa is valid for four years, with extension eligibility if another
 10   immigration adjustment or status is not granted during that time. The approved
 11   applicant is eligible to apply for a lawful permanent resident card (green card) after
 12   three years – a pathway to citizenship.
 13            64.     The T visa is a temporary immigration benefit that enables certain
 14   victims of a severe form of human trafficking to remain in the United States for up
 15   to 4 years if they have assisted law enforcement in an investigation or prosecution of
 16   human trafficking. T visa nonimmigrants who qualify may also be able to adjust
 17   their status and become lawful permanent residents.11
 18            65.     Koreans are also generally aware of the U visa and T visa as the visas
 19   are widely discussed in Korean legal counseling websites,12 newspaper articles13 14
 20

 21
      10
 22     https://www.uscis.gov/humanitarian/victims-human-trafficking-other-crimes/victims-criminal-
      activity-u-nonimmigrant-status/victims-criminal-activity-u-nonimmigrant-status
 23    https://www.domesticpreparedness.com/preparedness/u-visas-a-hidden-homeland-security-
 24   vulnerability/
      11
         https://www.uscis.gov/humanitarian/victims-human-trafficking-other-crimes/victims-human-
 25   trafficking-t-nonimmigrant-status
      12
 26        http://apil.or.kr/?p=3619&ckattempt=3
      13
 27        http://www.koreatimes.com/article/945947
      14
        http://www.koreadaily.com/news/read.asp?page=1&branch=&source=&category=emigration&a
 28   rt_id=6472175

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      15
  1        and NAVER,16 17 18 19 20 the top ranked web search portal in Korea commonly
  2   referred to as 'the Google of South Korea'.
  3            66.    For instance, one of the NAVER Blogs21 introduces U visa, as “The
  4   short-cut visa to obtain a lawful permanent resident card (green card)”.
  5   VII. DOE LIED THAT SHE WAS PURCHASED BY PLAINTIFF AND
  6            HUMAN-TRAFFICKED TO LOS ANGELES
  7            67.    On March 9, 2012, Doe arrived at the LA International Airport
  8   (“LAX”), with the airline tickets she purchased with her own money. Plaintiff was
  9   waiting for her at the airport.
 10            68.    For reasons unknown to Plaintiff, Customs Border Protection (“CBP”)
 11   agents, including an agent who purportedly spoke Korean, interviewed Doe. She is
 12   purported to have stated that Plaintiff:
 13                   (a)    purchased her for $26,000,
 14                   (b)    brought her to Hawaii on March 1, 2012,
 15                   (c)    told her to stand in a different line at the Hawaii airport
 16                          immigration inspection area,
 17                   (d)    told her to say that she was his girlfriend if asked, and
 18
      15
 19        http://www.koreatimes.com/article/20160418/982583
      16
 20     As of September 2017, the search engine handled 74.7% of all web searches in South Korea and
      had 42 million enrolled users. More than 25 million Koreans have Naver as the start page on their
 21   default browser and the mobile application has 28 million daily visitors.
      17
 22        https://blog.naver.com/usalawyer/221367418275 9-29-2018
      18
           https://blog.naver.com/skrmsp24/220825898319 10-2-2016
 23   19
           https://blog.naver.com/usalawyer/221369221119
 24   20
        Https://m.blog.naver.com/PostView.nhn?blogId=pax2102&logNo=220504403646&proxyRefere
 25   r=https%3A%2F%2Fwww.google.com%2F
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      https://m.blog.naver.com/PostView.nhn?blogId=koreatimesusa&logNo=220694387765&targetKe
 27   yword=u%EB%B9%84%EC%9E%90&targetRecommendationCode=1&keywordSearchType=TE
      XT
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  1                 (e)   paid her $896 each time they had sex.
  2           69.   On March 9, 2012, the Korean-speaking agent also interviewed
  3   Plaintiff and Plaintiff informed the agent that Doe was his girlfriend.
  4           70.   After the interview of Plaintiff, the Korean-speaking agent alleged that
  5   Plaintiff admitted to giving Doe $1,000 for sex in Hawaii.
  6           71.   Plaintiff denies telling the Korean-speaking agent or anyone that he
  7   gave Doe money for sex. Plaintiff only confirmed to the agent that he gave her
  8   about $30,000, referring to the money he gave Doe to repay the alleged debt and
  9   $3,000 he gave her for shopping.
 10           72.   After the interview, Plaintiff left the LAX without Doe as instructed by
 11   the agent.
 12           73.   Plaintiff’s subsequent efforts to see Doe were not successful, and
 13   Plaintiff returned to Korea without ever being able to see her or speak with her.
 14           74.   On May 22, 2012, Plaintiff attempted to enter the United States but he
 15   was apparently arrested, fingerprinted, and sent back to Korea at the LAX.
 16           75.   Despite his retention of legal representation, Plaintiff’s multiple visa
 17   applications have been rejected.
 18           76.   Plaintiff has not been charged with any crime.
 19           77.   On information and belief, the government granted Doe a U or T visa
 20   in connection with the investigation of Plaintiff for human trafficking.
 21   VIII. THE AGENT INVESTIGATING PLAINTIFF UNCOVERED THAT
 22           DOE FRAMED PLAINTIFF BUT DECIDED TO EXTORT
 23           PLAINTIFF, INSTEAD OF CLEARING HIS NAME
 24           78.   In his sentencing position, the Agent admitted that he and Doe began a
 25   romantic relationship and that he learned that Doe was not trafficked.
 26           79.   Even apart from the Agent’s realization from his own interaction with
 27   Doe, it is impossible even to suspect that she was trafficked. Doe was a Ten Pro
 28   doumi with a high income and a girlfriend of a Korean sports celebrity. Further,

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  1   Plaintiff gave Doe $26,000. If she was being sold and purchased, Plaintiff would
  2   have paid her trafficker, not her.
  3           80.    On information and belief, Plaintiff alleges that Doe manipulated the
  4   Agent into believing that they were in a romantic relationship, as she had done with
  5   Plaintiff. Shin needed and wanted the Agent’s help in securing a visa to stay in the
  6   U.S.
  7           81.    In his sentencing position, the Agent admitted that even though he
  8   knew Plaintiff was innocent and recommended that the investigation be closed, he
  9   pretended that the investigation was still open because he wanted to financially help
 10   Doe. He admitted that he called Plaintiff’s attorney and asked for money for
 11   clearing Plaintiff of the false accusation, which money he was presumably going to
 12   use for Doe.
 13           82.    When informed of the Agent Lee’s demand for money, Plaintiff
 14   believed that the agent instituted the investigation for extortion since there was no
 15   reason to believe that Doe was trafficked.
 16           83.    Plaintiff also believed that even if the Agent did not institute the
 17   investigation for extortion, the Agent was nevertheless extorting him with a threat
 18   that the agent will continue the investigation or maintain the official records
 19   showing Plaintiff as a human trafficking suspect so that Plaintiff would not be able
 20   to enter the U.S.
 21           84.    Having no realistic means to fight the Agent’s extortion, Plaintiff was
 22   forced to pay an amount between $9,000 and $11,000.
 23           85.    On information and belief, Plaintiff alleges that before or at the time of
 24   his extortion of Plaintiff, the Agent was under investigation by the government.
 25           86.    In its investigation of the Agent, the government enlisted the assistance
 26   of Plaintiff and his family. In particular, the U.S. government brought Plaintiff from
 27   Korea into the U.S. to record an incriminating conversation with the Agent.
 28   ///

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  1           87.   In assisting the government, Plaintiff was led to believe that the
  2   government knew of his innocence, will clear his name and will allow him to enter
  3   the U.S.
  4           88.   However, the government promptly sent Plaintiff back to Korea
  5   without clearing him of the false allegations or enabling him to travel to the U.S.,
  6   and is continuing to deny him entry to the U.S.
  7   IX.     PLAINTIFF SUFFERED SEVERE FINANCIAL DAMAGES AND IS
  8           THREATENED WITH EVEN GREATER DAMATGES
  9           89.   As a direct result of said conduct by Does, the Agent Lee and the
 10   government, Plaintiff was excluded from the U.S. and unable to manage his
 11   business operation in the U.S.
 12           90.   As a direct result of said conduct by Doe, the Agent and the
 13   government, Plaintiff was forced to establish a second manufacturing operation in
 14   Canada, instead of the U.S., and suffered financial damages in millions of dollars.
 15           91.   As a direct result of said conduct by Doe, the Agent and the
 16   government, Plaintiff is threatened with even greater financial damages in that
 17   Canada will also exclude Plaintiff once Canada and the U.S. begin sharing their
 18   criminal investigation records.
 19                           CLAIM FOR EQUITABLE RELIEF
 20           92.   For all of the foregoing reason, Plaintiff respectfully requests that this
 21   Court order or declare that:
 22                 a.    All records relating to the investigation or arrest of Plaintiff be
 23   expunged or sealed;
 24                 b.    There is no evidence of human trafficking or prostitution against
 25   Plaintiff;
 26                 c.    The government acted capriciously and improperly when it
 27   refused to grant entry to Plaintiff on the ground that he was implicated in human
 28   trafficking or prostitution; and

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  1                d.   For other such relief as the Court may deem proper.
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  3   DATED: January 8, 2020                      LIMNEXUS, LLP
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  5                                               BY:   /S/ PIO S. KIM
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                                                        Pio S. Kim
                                                        Attorneys for Plaintiff John Doe
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                         COMPLAINT FOR EQUITABLE RELIEF
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  1                               DEMAND FOR JURY TRIAL
  2           Plaintiff hereby requests a jury trial on any and all claims so triable.
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